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                           UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF OREGON

In re
                                                     Case No. 20-33477-dwh7
CHRISTOPHER R. MACKENZIE                             Chapter 7
ELIZABETH L. MACKENZIE,
                                                     MEMORANDUM IN SUPPORT OF
                                   Debtors.          TRUSTEE’S OBJECTION TO
                                                     EXEMPTION

         The Trustee submits the following memorandum of points and authorities in support of his

objection to the Debtor’s claimed federal homestead exemption under Section 522(d)(1) of the

Code.

         The Debtors cite to cases construing the Oregon state law exemption statute in support of

their attempt to use the federal homestead exemption set forth in Code Section 522(d)(1) to exempt

proceeds (prepaid rent and a security deposit) from a prepetition sale. Such authority is not

applicable to the Court’s analysis under Section 522(d)(1) which by its terms applies only to “real

property” that the debtor “uses as a residence”. As of the petition date, the subject of the claimed

exemption (cash proceeds) were not “real property” in “use” by the Debtors as a “residence.”

         Proceeds of the sale of a residence do not qualify as exempt under Section 522(d)(1)

because the Code does not provide for the federal exemption to apply to the proceeds of a

prepetition sale. This stands in direct contrast to the Oregon homestead statute which specifically

provides that the exemption is not impaired by “sale of the property” and applies to “proceeds

derived from such sale”. ORS 18.395(1)(c) and (2).

         There is no equivalent language in Section 522(d)(1) and none can be inferred. In re

Healy, 100 B.R. 443 (Bankr. W.D. Wis. 1989)(Court denied federal exemption in proceeds of sale
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of residence). See also, In re Gervais, 523 B.R. 334 (Bankr. Mass. 2015)(collecting authority for

the conclusion that Code Section 522(d)(1) does not apply to proceeds from the prepetition sale of

such real property but noting that the trustee in the Gervais case acted too late to raise an objection).

         The treatises are in accord with this conclusion. Collier on Bankruptcy observes “[u]nlike

some state homestead exemptions, Section 522(d)(1) does not expressly exempt proceeds from the

prepetition sale of homestead property”. 4 Collier on Bankruptcy, ¶ 522.09[1] (16th 2020). See

also, Creditors Rights and Remedies Oregon State Bar Publication, § 9.6-1 (“The federal

homestead exemption has another important characteristic. Consistent with all other federal

bankruptcy exemptions, the federal homestead is determined as of the date of filing. Consequently,

a sale of the homestead post-petition does not change the nature of the sale proceeds. However,

proceeds of a homestead sale prior to the bankruptcy filing are probably not covered by the federal

homestead exemption. If the lawyer is dealing with sale proceeds, rather than a physical homestead

before filing, Oregon exemptions should be considered”).

         The Trustee’s objection should be sustained.

         DATED: March 5, 2021

                                              LANE POWELL PC



                                              By:   /s/ David W. Criswell
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